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                14
                15                          UNITED STATES DISTRICT COURT
                16            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                17
                18 Y.Y.G.M. SA d.b.a. BRANDY                       Case No. 2:19-cv-04618-RGK (JPRx)
                   MELVILLE, a Swiss corporation,
                19
                                      Plaintiff,                   DEFENDANT REDBUBBLE INC.’S
                20                                                 RENEWED MOTION FOR
                        v.                                         JUDGMENT AS A MATTER OF
                21                                                 LAW OR, IN THE ALTERNATIVE,
                   REDBUBBLE INC.,                                 FOR A NEW TRIAL
                22
                                      Defendant.                   [Filed concurrently with Declaration of
                23                                                 Joshua M. Masur and [Proposed]
                                                                   Order]
                24
                                                                   Date: September 27, 2021
                25                                                 Time: 9:00 a.m.
                                                                   Crtrm.: 850
                26                                                 Judge: Hon. R. Gary Klausner
                27
                28

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                      1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                      2         PLEASE TAKE NOTICE that, in the above-entitled Court, Honorable R.
                      3 Gary Klausner presiding, Defendant Redbubble Inc. (“Redbubble”) will, and hereby
                      4 does, renew its motion before this Honorable Court for judgment as a matter of law
                      5 on all issues in this case. This motion is made pursuant to Fed.R.Civ.P. 50 and is
                      6 based upon the grounds that Plaintiff Y.Y.G.M. SA d.b.a. Brandy Melville (“Brandy
                      7 Melville”) has failed to offer evidence sufficient to permit a reasonable jury to find
                      8 in its favor on any issue in this case, including but not limited to the elements of its
                      9 claim for contributory trademark infringement, the elements of trademark
                10 counterfeiting, the elements of willful infringement, and/or its claim for lost profits
                11 and statutory damages.
                12              In the alternative, Redbubble will, and hereby does, move for a new trial. This
                13 motion is made pursuant to Fed. R. Civ. P. 59 and is based upon the grounds the
                14 verdict is against the weight of the evidence, the damages are excessive, and as a
                15 result of Plaintiff’s misconduct during closing arguments.
                16              This Motion will be based on this Notice of Motion, the following
                17 Memorandum of Points and Authorities, the testimony and evidence adduced at
                18 trial, the pleadings and other documents on file with this Court, the accompanying
                19 declaration of Joshua M. Masur (“Masur Decl.”), and such other argument and
                20 evidence which may be presented at the hearing on this matter.
                21              This motion is made following the conference of counsel pursuant to L.R. 7-3
                22 which took place on August 3, 2021.
                23
                24 Dated: August 24, 2021                            Respectfully submitted,
                25                                       COASTSIDE LEGAL             ZUBER LAWLER LLP
                                                         KENNETH B. WILSON           JOSHUA M. MASUR
                26                                                                   JENNIFER C. KUHN
                27                                             By: /s/ Joshua M. Masur
                                                                   Attorneys for Defendant Redbubble Inc.
                28


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                      1                 MEMORANDUM OF POINTS AND AUTHORITIES
                      2 I.     INTRODUCTION
                      3        The jury awarded Plaintiff Y.Y.G.M. SA (“Plaintiff”) $200,000 on its claim
                      4 that Redbubble willfully contributorily counterfeited its registered “LA Lightning”
                      5 trademark, although there were never any sales of allegedly infringing tank tops, t-
                      6 shirt or sweatshirts (the only product types covered by the registration), nor any
                      7 evidence of quantifiable damage to Plaintiff as a result of such infringement.
                      8 Redbubble’s first notice of alleged infringement of that mark was in the Complaint.
                      9 And only one clothing listing with an LA Lightning design appeared on the
                10 Redbubble website post-notice, from a seller with no record of prior infringing
                11 conduct, and there were no sales associated with this listing.
                12             Under these circumstances, even if there were evidence that somebody
                13 directly infringed the LA Lightning mark by using it in a source identifying way on
                14 a covered product (which Redbubble disputes), neither the law of this Circuit nor the
                15 instructions that the Court provided to the jury supports the jury’s determinations on
                16 contributory liability, counterfeiting, or the statutory damages “windfall” awarded to
                17 Plaintiff. For these and the reasons set forth in Redbubble’s prior motion for
                18 judgment as a matter of law [ECF#185], the jury’s verdict, or at least the portion of
                19 the verdict relating to the LA Lightning mark, should be vacated, or a new trial
                20 should be ordered.
                21 II.         LEGAL STANDARDS
                22             Judgment as a matter of law is appropriate “[i]f a party has been fully heard
                23 on an issue during a jury trial and the court finds that a reasonable jury would not
                24 have a legally sufficient evidentiary basis to find for the party on that issue.” Fed. R.
                25 Civ. P. 50(a). “It is error to deny a judgment [as a matter of law] when it is clear that
                26 the evidence and its inferences cannot reasonably support a judgment in favor of the
                27 opposing party.” Weaving v. City of Hillsboro, 763 F.3d 1106, 1111 (9th Cir. 2014).
                28


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                      1        Alternatively, Federal Rule of Civil Procedure 59(a) permits a district court to
                      2 award a new trial for “any reason for which a new trial has heretofore being granted
                      3 in an action at law in federal court,” Fed. R. Civ. P. 59(a), including “‘that the
                      4 verdict is against the weight of the evidence, that the damages are excessive, or that,
                      5 for other reasons, the trial was not fair to the party moving.’” Molski v. M.J. Cable,
                      6 Inc., 481 F.3d 724, 729 (9th Cir. 2007) (citations omitted). Such motions are
                      7 subjected to a lower standard of proof than motions for judgment as a matter of law;
                      8 a verdict may be supported by substantial evidence, yet still be against the clear
                      9 weight of evidence. Id. Unlike a Rule 50 motion, on a Rule 59 motion a “judge can
                10 weigh the evidence and assess the credibility of witnesses, and need not view the
                11 evidence from the perspective most favorable to the prevailing party,” and may even
                12 “sua sponte raise its own concerns about the damages verdict.” Experience Hendrix,
                13 L.L.C., v. Hendrixlicensing.com, Ltd., 762 F.3d 829, 842 (9th Cir. 2014).
                14              If this Court deems that a new trial is warranted, it may either grant the
                15 motion or deny it conditioned upon the prevailing party accepting a remittitur. Silver
                16 Sage Partners, Ltd. v. City of Desert Hot Springs, 251 F.3d 814, 818-19 (9th Cir.
                17 2001). “A remittitur must reflect ‘the maximum amount sustainable by the proof.’”
                18 Oracle Corp. v. SAP AG, 765 F.3d 1081, 1094 (9th Cir. 2014) (citations omitted).
                19 III.        THE JURY’S VERDICT ON CONTRIBUTORY COUNTERFEITING
                20             OF THE LA LIGHTNING MARK LACKS EVIDENTIARY BASIS
                21             Applying the Court’s instructions and the relevant case law, the evidence of
                22 record provided no basis for the jury’s finding of willful contributory counterfeiting
                23 of the LA Lightning Mark.
                24             A.     Only Apparel Products are Relevant to this Inquiry
                25             As the jury was properly instructed, counterfeiting liability exists only where
                26 a defendant used an “identical or substantially indistinguishable” copy of a
                27 registered mark “for such goods and services sold, offered for sale, or distributed.”
                28 [Masur Decl., Exh. C at 515:8-14; ECF#189 at 18]; see also 15 U.S.C.


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                      1 § 1116(d)(1)(B)(i); Kaloud, Inc. v. Shisha Land Wholesale, Inc., No. 15-3706-RGK,
                      2 2016 WL 7444600, at *2 (C.D. Cal. July 11, 2016), aff’d, 741 F. App’x 393 (9th
                      3 Cir. 2018) (reversing statutory damages verdict for counterfeiting because
                      4 “defendant did not apply the … Marks to the same [type of] product for which those
                      5 marks were registered”).
                      6        The LA Lightning Mark is only registered for “Clothing, namely, t-shirts,
                      7 tank tops, and sweatshirts.” [Masur Decl., Exh. D] Thus, only offers or sales of t-
                      8 shirts, tank tops or sweatshirts are relevant to that counterfeiting claim.
                      9        B.     Summary of the Evidence re LA Lightning Apparel
                10             There is no evidence that any clothing bearing the LA Lightning mark was
                11 ever sold through the Redbubble Marketplace; indeed, Redbubble’s witnesses
                12 testified that no such sales were ever made. [Masur Decl., Exh. C at 427:15-21] And
                13 there is very little evidence in the record regarding any LA Lightning products
                14 offered either by Plaintiff or through the Redbubble Marketplace.
                15             Plaintiff began using its LA Lightning design in 2018 and put it on “apparel
                16 products from hoodies to T-shirts to hats as well as stickers.” [Masur Decl., Exh. A
                17 at 123:9-125:18; Exh. B at 262:19-24; Exh. K, Exh. L] However, Plaintiff identified
                18 no evidence that consumers have ever specifically associated t-shirts, tanks or
                19 sweatshirts bearing an LA Lightning design with Plaintiff. [Id., Exh. A at 178:18-
                20 180:3, 194:12-17] And while Plaintiff has used the LA Lightning design to decorate
                21 its apparel [Id., Exhs. K, L], it offered no evidence that it ever used it on labels, hang
                22 tags or packaging, or otherwise used as a source-identifier (as opposed to an
                23 ornamental design). [Id., Exh. B at 271:5-23] Nor was there any evidence offered of
                24 Plaintiff’s own sales of products bearing the LA Lightning Mark, or any advertising
                25 associated with such products.
                26             At the time Plaintiff filed this lawsuit, there was a listing for clothing with an
                27 LA Lightning design (although not a “stitch for stitch copy” of Plaintiff’s products)
                28


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                      1 offered on the Redbubble Marketplace by seller Katie’s Stickers. 1 [Masur Decl.,
                      2 Exh. J] The evidence reflects that this and any other pre-existing LA Lightning
                      3 listings were promptly removed after the Complaint was filed. [Id., Exh. G
                      4 (Plaintiff’s counsel acknowledges that “[i]t appears that Redbubble has removed (at
                      5 least for the present time) items stamped with the ‘Brandy Melville’ and ‘LA
                      6 Lightning’ trademarks referenced in the lawsuit”)] There was no evidence adduced
                      7 at trial of any sales of clothing products associated with this listing. [Id., Exh. C at
                      8 432:20-433:7]
                      9         In May 2020, Plaintiff’s counsel located a listing by seller haleyshore that
                10 offered certain clothing items with an LA Lightning design and, without giving prior
                11 notice of the listing to Redbubble, attempted to purchase two products through that
                12 listing. That order was canceled before any product could be shipped, and no sale
                13 was ever consummated. [Masur Decl., Exh. C at 427:22-428:10; Exh. S at 128]
                14              This is the entirety of the evidence on which any counterfeiting verdict could
                15 be based, and it is plainly insufficient to support the jury’s verdict.
                16              C.    The Evidence Does Not Support a Contributory Infringement
                17                    Verdict
                18              As the Court instructed the jury per Ninth Circuit Model Jury Instruction
                19 15.21, contributory infringement requires that the defendant provide services to a
                20 particular direct infringer that “the defendant knew or had reason to know … was
                21 infringing the plaintiff’s trademark and the defendant continued to supply its
                22 services.” [Masur Decl., Exh. C at 508:22-509:1; ECF#189 at 16]. Moreover, and
                23 unlike other types of infringement, contributory infringement (or counterfeiting)
                24
                          1
                25  The trademark registration is limited on its face to “[t]he color yellow [which is]
                   claimed as a feature of the mark” [Masur Decl., Exh. D], while the design in the
                26 Katie’s Stickers listing is in black. Also, the listing in the accused design is (in
                27 Plaintiff’s words) a “cut off graphic,” showing only the letters “LOSA” and
                   “CALIFOR,” rather than “LOSANGELES” and “CALIFORNIA 1984” as depicted
                28 on the trademark registration and Plaintiff’s products. [Id., Exhs. D, K, L]


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                      1 cannot be found unless the defendant has “[s]ome contemporary knowledge of
                      2 which particular listings are infringing or will infringe” and fails to act on that
                      3 knowledge. YZ Productions, Inc. v. Redbubble Inc., --- F. Supp. 3d. ----, 2021 WL
                      4 2633552, at *6 (N.D. Cal. June 24, 2021); Tiffany Inc. v. eBay Inc., 600 F.3d 93
                      5 (2nd Cir. 2010). There was no evidence submitted on either of these elements.
                      6         Specifically, the evidence of record confirmed that the only “direct infringer”
                      7 who offered clothing with an LA Lightning design after the trademark issued, and
                      8 after suit was filed, was seller haleyshore. [Masur Decl., Exh. S at 128] There is no
                      9 evidence that Redbubble knew or had reason to know that haleyshore was offering
                10 this product or otherwise infringing until Plaintiff’s counsel attempted to buy her
                11 product. Once that happened, the record reflects that Redbubble cancelled that order
                12 and no sales were ever completed on this listing. [Id., Exh. C at 427:18-428:10]
                13 Thus, using the language of the Court’s instruction, Redbubble did not “continue to
                14 supply its services” to haleyshore once it received Plaintiff’s notice of infringement.
                15              There is also no evidence that Redbubble ever had notice of the LA Lightning
                16 Mark or that products bearing an LA Lightning design might be infringing that mark
                17 until this lawsuit was filed; indeed, the mark was not even registered until a year
                18 after Plaintiff’s May 2018 notice letter. [Compare Masur Decl., Exhs. D and E] As a
                19 result, Redbubble cannot be contributorily liable for any infringement that may have
                20 occurred before suit was filed. And as noted above, once Redbubble learned of
                21 haleyshore’s listing of an apparel product using an LA Lightning design, Redbubble
                22 removed the listing, thereby precluding as a matter of law any determination that it
                23 engaged in contributory infringement. See, e.g., Spy Phone Labs LLC. v. Google
                24 Inc., No. 15-CV-03756-KAW, 2016 WL 6025469, at *5 (N.D. Cal. Oct. 14, 2016).
                25              D.    The Evidence Does Not Support The Counterfeiting Verdict
                26              As the Court instructed the jury, “A counterfeit product must be a ‘stitch for
                27 stitch copy’ of plaintiff's own product when viewed in the marketplace, including its
                28 packaging, such that a customer would be tricked into believing that the counterfeit


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                      1 is actually one of the plaintiff's products.” [Masur Decl., Exh. C at 516:22-517:1;
                      2 ECF#198 at 27-28]. No jury following this instruction could have concluded that the
                      3 only product potentially subject to Plaintiff’s counterfeiting claim, the haleyshore
                      4 apparel with the LA Lightning design, qualifies as a counterfeit.
                      5        As both parties’ witnesses testified, Plaintiff’s products are sold in Plaintiff’s
                      6 stores or on Plaintiff’s website, surrounded by Plaintiff’s Brandy Melville branding,
                      7 with Plaintiff’s Brandy Melville tags, and shipped in Plaintiff’s Brandy Melville
                      8 packaging. In contrast, the accused products are listed as “designed by” the third-
                      9 party seller; the listing is surrounded by Redbubble branding; the products do not
                10 contain Brandy Melville tags; and they are shipped in Redbubble packaging. Given
                11 these differences, there was no evidence or reasonable possibility that any consumer
                12 would be “tricked into believing that the counterfeit is actually one of the plaintiff’s
                13 products.” See Arcona, Inc. v. Farmacy Beauty, LLC, No. 2:17-cv-07058-ODW,
                14 2019 WL 1260625, at *2-3 (C.D. Cal., Mar. 19, 2019), aff’d, 976 F.3d 1074 (9th Cir.
                15 2020) (granting summary judgment of no counterfeiting); Beats Elecs., LLC v.
                16 Fanny Wang Headphone Co., No. C-10-5680 MMC, 2011 WL 31198, at *6 (N.D.
                17 Cal. Jan. 5, 2011) (where accused products were sold exclusively on defendant’s
                18 website, “no reasonable potential purchaser likely would be confused, either initially
                19 or at the end of a transaction, as to the source of the product”).
                20             Moreover, as the Court also instructed the jury, to establish contributory
                21 counterfeiting, Plaintiff was required to show that the direct infringer, in this case
                22 haleyshore, “intentionally used in commerce a counterfeit mark” and “knew that the
                23 mark was counterfeit.” [Masur Decl., Exh. C at 515:23-516:10; ECF#189 at 27] But
                24 there is no evidence whatsoever about haleyshore’s knowledge or intentions. This
                25 failure of proof on an issue on which the Court specifically instructed the jury also
                26 warrants entry of judgment in favor of Redbubble notwithstanding the jury’s verdict.
                27 See Idaho Potato Comm’n v. G&T Terminal Pack, Inc., 425 F.3d 708, 721 (9th Cir.
                28


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                      1 2005) (counterfeiting requires proof that the alleged counterfeiter “knowing[ly]”
                      2 used a counterfeit mark with the “intent[]” of deceiving).
                      3        E.     The Evidence Does Not Support a Willfulness Verdict
                      4        The Court instructed the jury that “[w]illful infringement under the law
                      5 requires proof that a person acted voluntarily and intentionally and with the specific
                      6 intent to commit the act” of infringement. [ECF#189 at 28; Masur Decl., Exh. C at
                      7 517:11-13] Plaintiff offered no evidence from which a reasonable jury could find
                      8 willfulness under this instruction Indeed, in another case, and on very similar facts,
                      9 Redbubble prevailed against a willfulness claim as a matter of law. Atari Interactive,
                10 Inc. v. Redbubble, Inc., 515 F. Supp. 3d 1089, 1109 (N.D. Cal. 2021) (“Given that
                11 use of trademarked content is difficult to detect without input from the trademark
                12 owners, Atari fails to show that Redbubble’s process is unreasonable”); see also
                13 Academy of Motion Picture Arts & Scis. v. GoDaddy.com, Inc., No. CV 10-03738
                14 AB (CWX), 2015 WL 5311085 at *35 (C.D. Cal. Sept. 10, 2015) (“the uncontested
                15 evidence regarding [Defendant’s] responsiveness to [Plaintiff’s] notices as well as
                16 [Defendant’s] extensive proactive measures aimed at minimizing instances of
                17 infringement by its [users] proves [Defendant’s] conduct to be the antithesis of
                18 willful blindness or bad faith”).
                19             Here, the following evidence is relevant to the willfulness determination:
                20 1) upon receiving notice of the LA Lightning mark when the lawsuit was filed,
                21 Redbubble began proactively policing for products bearing that design; 2) thereafter
                22 haleyshore managed to upload a single listing for apparel depicting the LA
                23 Lightning design, from which two orders were placed by Plaintiff’s law firm;
                24 3) upon learning of that listing, Redbubble canceled the only orders before any
                25 product shipped; and 4) that listing was disabled and there have been no other post-
                26 listing notices of apparel depicting the LA Lightning Design. [Masur Decl., Exh. F;
                27 Exh. B at 315:8-14; Exh. S at 128; Tr. at 427:15-428:10]; see also ECF#103
                28 (Summary Judgment Order) at 14 n. 1 (“Redbubble’s conduct in preventing the sale


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                      1 and terminating the user's account may be relevant to any hypothetical assessment
                      2 of statutory damages”). On these facts, no reasonable jury could have concluded that
                      3 Redbubble engaged in willful contributory counterfeiting with respect to the LA
                      4 Lightning mark. Compare, e.g., Evergreen Safety Council v. RSA Network, Inc.,
                      5 697 F.3d 1221, 1228 (9th Cir. 2012) (even “[c]ontinued use of a work even after one
                      6 has been notified of his or her alleged infringement does not constitute willfulness
                      7 so long as one believes reasonably, and in good faith, that he or she is not
                      8 infringing”).
                      9 IV.    THE EVIDENCE DOES NOT SUPPORT THE STATUTORY
                10             DAMAGE AWARD
                11             If the jury verdict on counterfeiting is upheld, Redbubble acknowledges that
                12 Plaintiff is entitled to some amount of statutory damages. However, given the
                13 absence of any evidence of damage to Plaintiff or profits to Redbubble from the
                14 haleyshore listing (or from any other post-lawsuit listing for apparel displaying an
                15 LA Lightning design), neither the controlling case law nor Constitutional due
                16 process supports the $200,000 award handed down by the jury.
                17             A.       The Amount of Statutory Damages Is Unsupported, Excessive, and
                18                      a Violation of Due Process
                19             As the Ninth Circuit recently reaffirmed, “[s]tatutory damages are intended as
                20 a substitute for profits or actual damage,” not to provide plaintiffs “a windfall.”
                21 Desiree, LLC v. Manna Textiles, Inc., 986 F.3d 1253, 1271 (9th Cir. 2021). While
                22 statutory damages are also intended to deter future infringement by the defendant
                23 and others, courts in this Circuit have consistently held that any “statutory damages
                24 award ‘must bear a plausible relationship to Plaintiff’s actual damages.’” Atari
                25 Interactive, Inc. v. Redbubble, Inc., --- F. Supp. 3d ----, 2021 WL 2766893, at *4
                26 (N.D. Cal. June 29, 2021) (quoting Michael Grecco Productions, Inc. v. Enthusiast
                27 Gaming, Inc., No. 19-CV-06399-LHK, 2020 WL 7227199, at *10 (N.D. Cal. Dec.
                28 8, 2020)); accord, e.g., Yelp Inc. v. Catron, 70 F. Supp. 3d 1082, 1102 (N.D. Cal.


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                      1 2014) (reducing statutory damages from $2,000,000 to $45,000 because lack of
                      2 “plausible relationship to Plaintiff’s actual damages” would result in “a windfall”).
                      3 Assessing this relationship typically includes consideration of “the revenues lost by
                      4 the plaintiff,” as well as the value of the trademark(s) in suit (among other things).
                      5 Coach Inc. v. Envy, No. 1:11-CV-1029 LJO GSA, 2012 WL 78238, at *4 (E.D. Cal.
                      6 Jan. 10, 2012) 2; see also J&J Sports Prods. v. Ho, No. 10-01883, 2010 WL
                      7 3912179, at *1 (N.D. Cal. Oct. 5, 2010) (“[a] traditional method of determining
                      8 statutory damages is to estimate either the loss incurred by the plaintiff or the profits
                      9 made by the defendants.”).
                10             Although its US affiliate’s chief financial officer was one of its two witnesses,
                11 Plaintiff here chose not to introduce any financial information whatsoever at trial.
                12 As a result, there is no basis to assess any the value of the LA Lightning trademark
                13 or any revenues lost by Plaintiff from infringement of that mark. The absence of any
                14 revenue to Redbubble from the purported counterfeiting further militates against
                15 affirming the jury’s statutory damages award; indeed, the fact that there were no
                16 sales of purportedly counterfeit apparel, and Plaintiff’s delay in reporting the alleged
                17 infringement, corroborate the absence of any harm to Plaintiff.
                18             Moreover, the Supreme Court has expressly held that a statutory damage
                19 award violates Constitutional due process if it is “so severe and oppressive as to be
                20 wholly disproportioned to the offense or obviously unreasonable.” St. Louis, I.M. &
                21 S. Ry. Co. v. Williams, 251 U.S. 63, 67 (1919). Accordingly, courts have on several
                22 occasions struck statutory damage awards under the Lanham Act or “under an
                23
                24       2
                           The full set of factors set forth in Coach v. Envy is as follows: “(1) the expenses
                25       saved and the profits reaped by the defendant; (2) the revenues lost by the plaintiff;
                         (3) the value of the copyright [or trademark]; (4) the deterrent effect on others
                26       besides the defendant; (5) whether the defendant’s conduct was innocent or willful;
                27       (6) whether a defendant has cooperated in providing particular records from which
                         to assess the value of the infringing material produced; and (7) the potential for
                28       discouraging the defendant.”

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                      1 analogous provision of the Copyright Act,” UL LLC v. Space Chariot Inc., 250 F.
                      2 Supp. 3d 596, 614 (C.D. Cal. 2017), based on due process concerns. See, e.g.,
                      3 Capitol Records, Inc. v. Thomas-Rassett, 799 F. Supp. 2d 999 (D. Minn. 2011)
                      4 (finding $62,500 per work award for willful infringement constituted a violation of
                      5 due process given, among other things, the absence of any evidence of damage to
                      6 plaintiff and the lack of any infringer’s profits, and determining that $2,250 per
                      7 work, or three times the statutory damages minimum, was the maximum permissible
                      8 statutory damage award); Sony BMG Music Entertainment v. Tenenbaum, 721 F.
                      9 Supp. 2d 85 (D. Mass. 2010) (like Thomas-Rassett, court rejected statutory damages
                10 award based on due process concerns and determined that $2,250 per work, or three
                11 times the statutory damages minimum, was the maximum permissible statutory
                12 damage award for defendant’s willful copyright infringement).
                13             The extensive discussion of due process concerns in Thomas-Rassett and
                14 Tenenbaum supports the applicability of due process concerns to the case at hand,
                15 but perhaps the following passage from Tenenbaum is the most on point:
                16             In summary, the asymmetry between the relatively small harm suffered by
                17             plaintiffs and benefit reaped by Tenenbaum, on the one hand, and the jury's
                18             extraordinarily high award, on the other, is so extreme as to “jar [the Court’s]
                19             constitutional sensibilities.” The award in this case is much higher than is
                20             reasonably necessary to further the legitimate interests of compensating the
                21             plaintiffs and deterring future infringement. It lacks any rational foundation
                22             and smacks of arbitrariness.
                23 721 F. Supp. 2d at 115 (citation omitted; quoting Pacific Mut. Life Ins. Co. v.
                24 Haslip, 499 U.S. 1, 18 (1991)).
                25             Applying these principles, and looking solely at the claim for counterfeiting
                26 the LA Lightning mark (which is the only basis for the statutory damage award),
                27 there is simply nothing in the record that would justify an award of $200,000 for a
                28 single violation with no associated sales. While Plaintiff is entitled to some amount


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                      1 of statutory damages if the jury’s verdict of a counterfeit offer for sale is upheld, the
                      2 statutory minimum of $1,000 is more than ample to remedy this technical violation.
                      3         B.    The Absence of Evidence of Damages and Lack of Infringer’s
                      4               Profits Justifies No More than the Statutory Minimum of $1,000
                      5         Where, as here, a plaintiff fails to present evidence of harm and/or there is no
                      6 evidence of defendant’s profit from infringement, an appropriate statutory damage
                      7 award is the statutory minimum. See, e.g., Bly v. Banbury Books, Inc., 638 F. Supp.
                      8 983, 987 (E.D. Pa. 1986), and cases cited therein (awarding statutory minimum and
                      9 noting that “courts have held that minimum statutory damages should be assessed
                10 when a plaintiff has sustained minimal, if any, damages”). Indeed, as some courts
                11 have observed, the legislative history of the statutory damage provisions of the
                12 Copyright Act (which, as previously discussed, are substantially the same as those
                13 of the Lanham Act) “seems to contemplate that when a plaintiff does not establish
                14 that any damage has resulted from an infringement, the minimum amount of $250
                15 will be awarded.” Mon Cheri Bridals, LLC v. Cloudflare, Inc., No. 19-CV-01356-
                16 VC (TSH), 2021 WL 1222492, at *2 (N.D. Cal. April 1, 2021) (quoting Bly, 638 F.
                17 Supp. at 987-88). Applying this measure would yield an award of $1,000 in
                18 statutory damages, which is still an infinitely greater amount than the harm to
                19 Plaintiff and Redbubble’s profits from the conduct that gave rise to the award.
                20              Other courts have held that where there are no actual damages or infringer’s
                21 profits but there has been a determination of willfulness, it is appropriate to award
                22 up to three times the statutory minimum, which for purposes of a Lanham Act
                23 counterfeiting violation would be $3,000. See, e.g., Thomas-Rassett, supra, 799 F.
                24 Supp. 2d at 1012-14 (awarding three times statutory minimum); Tenenbaum, supra,
                25 721 F. Supp. 2d at 116-18 (same); Adobe Systems, Inc. v. Tanvir, No. 16-cv-6844
                26 CRB, 2017 WL 2986219 (N.D. Cal. July 13, 2017) (awarding two times statutory
                27 minimum on Lanham Act claim); Microsoft Corp. v. Ricketts, No. C 06-6712 WHA,
                28 2007 WL 1520965, at *4 (N.D. Cal. May 24, 2007) (same). This limitation is


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                      1 premised on “a long tradition in the law of allowing treble damages for willful
                      2 misconduct,” including under the Lanham Act (15 U.S.C. § 1117(b)), and the
                      3 existence of other statutory schemes that “explicitly allow for an increase in
                      4 statutory damages, up to triple statutory damages, when the statutory violation is
                      5 willful or demonstrates a particular need for deterrence.” Tenenbaum, 721 F. Supp.
                      6 2d at 117 (citing Capitol Records, Inc. v. Thomas-Rassett, 680 F. Supp. 2d 1045,
                      7 1056-57 (D. Minn. 2011)). Such limitation is also consistent with the Supreme
                      8 Court’s jurisprudence in the context of punitive damages awards, holding that
                      9 “[s]ingle-digit multipliers are more likely to comport with due process, while still
                10 achieving the State's goals of deterrence and retribution.” State Farm Mutual
                11 Automobile Insurance Co. v. Campbell, 538 U.S. 408, 425 (2003) (“few awards
                12 exceeding a single-digit ratio between punitive and compensatory damages, to a
                13 significant degree, will satisfy due process”).
                14             Because the jury’s award violates due process, the Court need not issue a
                15 remittitur or offer a new trial; Plaintiff would undoubtedly not accept a remitted
                16 award, and any future trial would have the same issues with respect to the maximum
                17 permissible amount of statutory damages. See Tenenbaum, 721 F. Supp. 2d at 87-88.
                18 At the very least, given the excessiveness of the jury’s verdict, the Court should
                19 grant a remittitur with a statutory damages award of $1,000 if the Court grants
                20 JMOL on the jury’s willfulness verdict on the LA Lightning mark, or $3,000 if the
                21 Court upholds that verdict.
                22 V.          THE EVIDENCE DOES NOT SUPPORT A FINDING OF DIRECT
                23             INFRINGEMENT.
                24             A.     Plaintiff’s Claim Sounds in Copyright Law, Not Trademark Law
                25             In closing arguments, Plaintiff’s counsel finally revealed that its claims are
                26 “not about the designs. It's about linking our designs to our trade name. So if you
                27 can figure that out, we don't have to send you designs all the time.” [Masur Decl.,
                28 Exh. C at 503:21-22] The linking of Plaintiff’s unregistered trade name to their


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                      1 designs is at, at heart, a claim of unauthorized copying which is not cognizable
                      2 under the Lanham Act. “When the claim is more accurately conceived of as
                      3 attacking unauthorized copying, [Dastar Corp. v. Twentieth Century Fox Film
                      4 Corp., 539 U.S. 23 (2003)] requires us to avoid recognizing a “species of mutant
                      5 copyright law” by making such claims cognizable under the Lanham Act. Slep-Tone
                      6 Ent’ment Corp. v. Wired for Sound Karaoke & DJ Serv., LLC, 845 F.3d 1246, 1249
                      7 (9th Cir. 2017) (quoting Dastar). The Supreme Court has been “‘careful to caution
                      8 against misuse or over-extension’ of trademark and related protections into areas
                      9 traditionally occupied by patent or copyright. Dastar, 539 U.S. at 34. The
                10 Supreme Court makes clear in Dastar that the Lanham Act does not create “a cause
                11 of action for, in effect, plagiarism” which is what Plaintiff complains of here. Id. at
                12 36.
                13             B.     There Was No Infringement of the LA Lightning Mark Because
                14                    the Evidence Does Not Support a Likelihood of Confusion
                15             A trademark infringement claim does not exist where the “allegedly
                16 infringing activity does not deceive or mislead consumers about the source of the
                17 goods but copies the designs themselves.” LTTB LLC v. Redbubble Inc., 840 F.
                18 App'x 148, 151 (9th Cir. 2021); Dastar, 539 U.S. at 34; see also International Order
                19 of Job's Daughters v. Lindeburg & Co., 633 F.2d 912, 917 (9th Cir. 1980) (denying
                20 infringement claim for copying of plaintiff’s insignia on rings because there was no
                21 evidence that consumers would deem defendant’s use of the insignia “as a
                22 designation of origin or sponsorship”); Evidence that a defendant copied without
                23 authorization an ‘idea, concept or communication’” is not sufficient for a trademark
                24 infringement claim. Evox Prods. LLC v. AOL, Inc., --- F. Supp. 3d ----, 2021 WL
                25 1536129 at 3 (C.D. Cal. March 3, 2021) (quoting Dastar, supra).
                26             To distinguish “source identifying use” from an aesthetic use which sounds in
                27 copyright, the Trademark Manual of Examining Procedures § 1201.03(a) identifies
                28 use on the pocket area of a shirt as source identifying, and courts have followed this


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                      1 limitation: “[a] small, neat, and discrete word or design feature (e.g., small design of
                      2 animal over pocket or breast portion of shirt) may be likely to create the commercial
                      3 impression of a trademark, whereas a larger rendition of the same matter
                      4 emblazoned across the front of a garment . . . may be perceived merely as a
                      5 decorative or ornamental feature of the goods.” Teal Bay Alls., LLC v. Southbound
                      6 One, Inc., No. CIV.A. MJG-13-2180, 2015 WL 401251, at *10 (D. Md. Jan. 26,
                      7 2015) (quoting same); Bobosky v. Adidas AG, 843 F. Supp. 2d 1134, 1142 (D. Or.
                      8 2011) (similar). Plaintiff produced no evidence of such a use in this litigation.
                      9        Applying these standards, there was no evidence from which a reasonable
                10 jury could find that the alleged direct infringers used the LA Lightning design on
                11 their apparel in a source identifying or trademark manner, as opposed in an
                12 ornamental manner. While Plaintiff presented testimony that its own products
                13 bearing the LA Lightning design were a “hot seller” because it was a “nice design”
                14 or “appealing” to consumers, “evidence of the popularity of [goods] does not create
                15 a triable issue as to whether consumers buy the products because they identify [the
                16 trademark owner] as the source of the goods. LTTB LLC v. Redbubble, Inc., 840 F.
                17 App’x 148, 150 (9th Cir. 2021). And Plaintiff offered no evidence other than the
                18 self-interested testimony of its company witnesses regarding any source
                19 identification associated with the LA Lightning Mark or the accused products,
                20 testimony that is “insufficient to establish secondary meaning” as a matter of law.
                21 Filipino Yellow Pgs. v. Asian Journal Publications, 198 F.3d 1143, 1151-52 (9th
                22 Cir. 1999) Indeed, Plaintiff’s testimony that it used the Brandy Heart mark, not the
                23 LA Lightning design, on its hang tags and packaging [Masur Decl., Exh. A at
                24 120:18-121:2, Exh. M] actually undermines Plaintiff’s claim that it used the design
                25 for branding. Teal, 2015 WL 401251, at *12; see also In Re Pro-Line, 28
                26 U.S.P.Q.2d 1141 (T.T.A.B. Aug. 16, 1993) (the more another mark is placed such
                27 that it is “likely to be viewed as the source indicator,” the more a decorative feature
                28 is “devoid of trademark significance”).


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                      1        Indeed, Redbubble prevailed on this precise issue as a matter of law and had
                      2 that determination affirmed on appeal in the LTTB case. There, the plaintiff sought
                      3 to hold Redbubble liable for infringement of its trademarked phrase “Lettuce Turnip
                      4 the Beet” because third-party sellers were offering shirts and other products copying
                      5 and prominently displaying that phrase. The district court granted summary
                      6 judgment that the plaintiff could not enforce her marks against the accused products,
                      7 holding that there was no evidence “that any purchaser of allegedly infringing items
                      8 inferred from use of the [mark] that the product was produced, sponsored, or
                      9 endorsed by any particular person or entity, such as [plaintiff].” 385 F.Supp.3d at
                10 922. The Ninth Circuit affirmed using reasoning that is equally applicable here,
                11 holding that “the evidence does not raise an issue of fact as to whether consumers
                12 buy the products because they identify [plaintiff] as the source.” 840 F. App’x at
                13 151.
                14             Here, as in LTTB, Plaintiff essentially “seeks to claim, but is by no means
                15 entitled to, what amounts to [design] patent or copyright type protection for” the LA
                16 Lightning design.3 Teal, 2015 WL 401251, at *12. But as the Ninth Circuit held in
                17 Job’s Daughters, one can lawfully use a design popularized by another to
                18 “capitalize on a market or fad created by another provided that it is not
                19 accomplished by confusing the public.” 633 F.2d at 918–19; see also Fleischer
                20 Studios, Inc. v. A.V.E.L.A., Inc., 925 F. Supp. 2d 1067, 1074 (C.D. Cal. 2012)
                21 (“Considering that Defendants use the words Betty Boop as an artistic design
                22 element and identify themselves as the source of the goods, their use of the words
                23 Betty Boop simply cannot be viewed as source identifying,” particularly given that
                24
                25
                          3
                    Thus, whether the graphic is an original design is irrelevant. To “‘acquire
                26 ownership of a trademark it is not enough to have invented the mark first or even to
                27 have registered it first; the party claiming ownership must have been the first to
                   actually use the mark.’” Pollution Denim & Co. v. Pollution Clothing Co., 547 F.
                28 Supp. 2d 1132, 1141 n.35 (C.D. Cal. 2007) (citation omitted).


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                      1 “Plaintiff has not presented a single instance of a consumer who was misled about
                      2 the origin or sponsorship of Defendants' products.” Accordingly, Plaintiff has failed
                      3 to establish the underlying direct infringement on which its contributory claim
                      4 against Redbubble necessarily rests.
                      5        C.     There Was No Infringement of the Unregistered Marks Under
                      6               15 U.S.C. § 1125(a)
                      7        Plaintiff’s claim for its unregistered marks is based on 15 U.S.C. § 1125(a),
                      8 false designation of origin. Dastar limits liability for the “origin of goods”
                      9 designation in § 1125(a) to “the producer of the tangible goods that are offered for
                10 sale, and not to the author of any idea, concept or communication embodie[d] in
                11 those goods.” 539 U.S. at 37. The Supreme Court explained that its decision in
                12 Wal-Mart Stores, Inc. v. Samra Bros., Inc., 529 U.S. 205 (2000) would be moot if
                13 15 U.S.C. § 1125(a) were applied as plaintiff would like here: “‘[O]rigin of goods’
                14 in the Lanham Act refer[s] to the producer of the clothes, and not the producer of the
                15 (potentially) copyrightable or patentable designs that the clothes embodied.” Id.
                16 Here plaintiff introduced no evidence of a “false designation of origin” which would
                17 lead to consumer confusion. See Freecycle Network, Inc. v. Oey, 505 F.3d 898, 902
                18 (9th Cir. 2007). To the contrary, Redbubble’s consistent use of housemarks and
                19 identification of artists [e.g., Masur Decl., Exhs. O-R], Redbubble labelling and
                20 packaging [e.g., id., Exhs. H at 1, I at 2, N at 1], and the fact that the goods are
                21 produced after they are ordered [e.g., id., Exh. C at 409:11-16], dispels any
                22 possibility of likelihood of confusion as to the producer of the tangible goods that
                23 are offered for sale, requiring that the verdict for contributory infringement by false
                24 designation of origin under 15 U.S.C. § 1127(a), be overturned.
                25 VI.         PLAINTIFF’S COUNSEL COMMITTED MISCONDUCT DURING
                26             CLOSING ARGUMENTS
                27             Plaintiff argued in closing that the Court’s “stitch-for-stitch” instruction on
                28 counterfeiting was “just not the law,” and also that jurors should “tell Redbubble


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                      1 that a slap on the wrist isn’t good enough…. Only you can send this message, but it
                      2 has to be loud and clear…. The message has to be loud and clear enough to go all
                      3 the way to Australia where company that’s on its way to a billion dollars, much of it
                      4 on the backs of counterfeit products, needs to be told that it’s not okay.” [Masur
                      5 Decl., Exh. C at 501:9-14, 505:20-506:11] Plaintiff’s closing argument focuses on
                      6 the foreign headquarters of defendant Redbubble, and encourages the jury to ignore
                      7 the court’s jury instructions, and to punish Redbubble for alleged counterfeiting of
                      8 third-party intellectual property that was not in evidence – and that was, in fact,
                      9 barred by Redbubble’s motion in limine no. 6. [ECF#60] A new trial is warranted
                10 on the ground of attorney misconduct where the “flavor of the misconduct …
                11 sufficiently permeate[s] an entire proceeding to provide conviction that the jury was
                12 influenced by passion and prejudice in reaching its verdict.” Anheuser-Busch, Inc.
                13 v. National Beverage Dist., 69 F.3d 337, 346 (9th Cir. 1995).
                14             Conduct may “permeate” the trial even though it only occurs at the end of the
                15 trial or in closing statement. Bird v. Glacier Elec. Coop., Inc., 255 F.3d 1136, 1145
                16 n.16 (9th Cir. 2001). In Bird, the Ninth Circuit held that if no contemporaneous
                17 objection is made at the time of the prejudicial conduct, the court will review for
                18 plain or fundamental error. Id. at 1148. The Ninth Circuit found that the closing
                19 argument based on nationalist appeals and defendant’s unproven responsibility for
                20 other bad acts made the proceeding fundamentally unfair; “we cannot now assess
                21 the amount the jury might have awarded for compensatory or for putative damages,
                22 absent improper argument.” Bird. at 1152. Here, as in Bird, the improper closing
                23 rebuttal arguments based on nationalistic bias and unfounded allegations of bad
                24 behavior “had the improper effect of encouraging the … jury to impose an
                25 impassioned sanction against” defendant. Id. This court should set aside the jury’s
                26 verdict, and order a new trial.
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                      1 VII. REDBUBBLE INCORPORATES ITS PRIOR RULE 50(a)
                      2        ARGUMENTS
                      3        To avoid any question of waiver, Redbubble reiterates and incorporates the
                      4 remaining arguments from its Rule 50(a) motion that the Court has not already ruled
                      5 on, including but not limited to: 1) Plaintiff has failed to show commercial use of the
                      6 LA Lightning Mark; 2) Plaintiff failed to establish that it has common law rights in
                      7 its unregistered trademarks; 3) the record does not contain evidence to support a
                      8 verdict of likelihood of confusion of any type on any of the marks, including initial
                      9 interest confusion; 4) the record does not support an award of pre-notice damages;
                10 5) the verdict does not take into account Plaintiff’s failure to mitigate damages by
                11 refusing to promptly notify Redbubble of purported infringements; and 6) the record
                12 does not support the jury’s award of infringer’s profits. [ECF##185, 202]
                13 VIII. CONCLUSION
                14             For the foregoing reasons, Redbubble’s motion for judgment as a matter of
                15 law should be granted or a new trial ordered.
                16
                17 Dated: August 24, 2021                           Respectfully submitted,
                18                                      COASTSIDE LEGAL            ZUBER LAWLER LLP
                                                        KENNETH B. WILSON          JOSHUA M. MASUR
                19                                                                 JENNIFER C. KUHN
                20                                            By: /s/ Joshua M. Masur
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